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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

JANSSEN BIOTECH, INC.

                    Plaintiff,
                                                        Civil Action No. 1:17-cv-11008-MLW
       v.

CELLTRION HEALTHCARE CO., LTD.,
CELLTRION, INC., and HOSPIRA, INC.,

                    Defendants.


                        NOTICE OF WITHDRAWAL OF COUNSEL

       Pursuant to Local Rule 83.5.2(c) of the Local Rules of Civil Practice and Procedure of

the United States District Court for the District of Massachusetts, we, the following attorneys of

record, hereby withdraw as counsel for Intervenor Samsung Bioepis, Co., Ltd. (“Bioepis”):

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       Please remove our respective email addresses from the Court’s electronic notification

system for this case. Jenny A. Shmuel of the law firm of Fish & Richardson P.C. will continue to

represent Bioepis at this time.

       Pursuant to Local Rule 83.5.2(d), all parties have been informed of Bioepis’s counsel’s

intention to withdraw and no party opposes the relief sought herein.



 Dated: May 7, 2018                                 /s/John C. Adkisson
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                                                     Attorneys for Samsung Bioepis, Co., Ltd.



                     CERTIFICATE OF COMPLIANCE WITH L.R. 7.1

       I hereby certify that Samsung Bioepis, Co., Ltd. has complied with the provisions of

Local Rule 7.1. Plaintiff’s and Defendants’ counsel have stated that they do not oppose the relief

requested herein.

                                              /s/John C. Adkisson
                                              John C. Adkisson


                                 CERTIFICATE OF SERVICE

       I hereby certify that this document(s) filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

and paper copies will be sent to those indicated as non-registered participants on this 7th day of

May, 2018.



                                              /s/John C. Adkisson
                                              John C. Adkisson




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